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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                            )
 G.Y.J.P., A MINOR CHILD, by and through her                )
 mother and Next Friend, M.R.P.S.,                          )
                                                            )
                                                            )
 Plaintiff,                                                 )
                                                            )
 v.                                                         ) No. 20-cv-01511-TNM
                                                            )
 CHAD F. WOLF, Acting Secretary of Homeland                 )
 Security, in his official capacity, et al.,                )
                                                            )
                                                            )
 Defendants.                                                )
                                                            )
                                                            )


REPLY IN SUPPORT OF MOTION FOR SCHEDULING ORDER ON FORTHCOMING
                  MOTION FOR SUMMARY JUDGMENT

        Plaintiff briefly responds to Defendants’ opposition to her Motion for Scheduling Order.

None of Defendants’ arguments is persuasive.

        First, Defendants say that Plaintiff has not sufficiently identified “which specific criteria

she thinks her case shares with J.B.B.C.” ECF No. 28 at 4. Yet as Plaintiff has already

explained (and Defendants do not squarely dispute), the two cases raise the exact same legal

challenges against the Title 42 Process against the exact same Defendants, and rely on the same

legal arguments attacking the legality of Defendants’ use of the Title 42 public health laws to

create a parallel deportation process. ECF Nos. 7, 8, 12. Even a cursory review of the

complaints in the two cases shows that they “involve common issues of law and fact.” LCvR

40.5(a)(3). Indeed, the two cases are nearly identical in all relevant respects. See First Amended

Complaint, J.B.B.C. v. Wolf, No. 20-cv-01509-CJN (July 2, 2020), ECF No. 42. Moreover,

Judge Nichols has already spent substantial time addressing these legal questions, and has

reviewed extensive briefing and evidence concerning the Title 42 Process. Judge Nichols held


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two hearings and heard lengthy oral argument before issuing his ruling. And as noted, Plaintiffs’

counsel in the two cases overlap heavily, and have the same lead counsel. Consequently, the

identity of issues and the expenditure of significant judicial resources in J.B.B.C. weigh heavily

in favor of transfer.

        Second, Defendants oppose relation of this case on the ground that they contend the cases

pending in front of Judge Nichols are moot. ECF No. 28 at 4. The plaintiffs before Judge

Nichols, J.B.B.C. and E.Y., dispute mootness, particularly because Defendants acted voluntarily

to put them in ORR custody (seemingly as a litigation tactic). Defendants bear a “heavy burden”

to show that their voluntary cessation of allegedly unlawful conduct moots the cases, and they

have not met that burden. Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012,

2019 n.1 (2017). Defendants have done nothing to make it “‘absolutely clear’ that it could not

revert to its” earlier plan to subject both J.B.B.C. and E.Y. to the Title 42 Process, without an

asylum hearing in regular removal proceedings before an immigration judge. Id.

        Regardless of the merits of Defendants’ mootness arguments, the critical point for

related-case purposes is that the case before Judge Nichols remains “pending on the merits.”

LCvR 40.5(a)(3). Far from the question of mootness having been settled, Defendants concede

they have not even filed a motion to dismiss before Judge Nichols. ECF No. 28 at 4. Cf. Collins

v. Pension Ben. Guar. Corp., 126 F.R.D. 3, 7 (D.D.C. 1989) (case remained “pending on the

merits” when there was no dismissal order). That Defendants’ objection to relation depends on

the assertion that J.B.B.C. is moot only underscores why this case should be related to J.B.B.C.,

since Judge Nichols should address Defendants’ mootness arguments in the first instance.

        Third, the procedural histories of J.B.B.C. and G.Y.J.P. demonstrate that Defendants are

trying to game this District’s relation rules by strategically pulling a child out of the Title 42




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expulsion process when they believe the child’s case would be brought before Judge Nichols,

thereby delaying any resolution of the legality of the novel Title 42 Process. Defendants

vigorously contested J.B.B.C.’s TRO Motion for weeks, and Judge Nichols held two hearings.

During that time, Defendants never suggested that taking J.B.B.C. out of the Title 42 Process

was an option. In fact, on June 9, 2020, J.B.B.C.’s immigration counsel requested that J.B.B.C.

be transferred to ORR care, and DHS refused. See Suppl. Corchado Decl. ¶ 3, J.B.B.C. v. Wolf,

No. 20-cv-01509-CJN (June 22, 2020), ECF No. 34-3. On June 24, Judge Nichols, after

extensive briefing and argument, issued a preliminary injunction enjoining J.B.B.C.’s removal

pending summary judgment. Judge Nichols then asked the parties to submit expedited summary

judgment briefing schedules by June 29, but the day before the schedules were due, Defendants

abruptly changed course and voluntarily transferred J.B.B.C. to ORR custody.

       Additionally, on July 2, Plaintiffs’ counsel in J.B.B.C. added another child to the case,

named E.Y. That child had been in the Title 42 Process for days and was set to be deported.

Mere hours after Plaintiffs added E.Y. to the case, Defendants informed Plaintiffs’ counsel that

they were taking E.Y. out of the Title 42 Process and sending him to ORR custody. Since Judge

Nichols’s order, and apart from J.B.B.C. and E.Y., Plaintiffs’ counsel has brought eight other

children to Defendants’ attention. Except for one child who was already deported by the time

Plaintiff wrote Defendants, they have voluntarily taken each child out of the Title 42 Process.

       Defendants’ strategy is clear—they are attempting to “moot” the case of every child who

has been or could be added as a plaintiff in the case pending in front of Judge Nichols, with the

goal of avoiding a speedy resolution of this issue by a judge who has already familiarized

himself with the issues and preliminarily ruled against the government. Judicial efficiency is

promoted by relating these cases before a judge who has already expended significant time




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analyzing the issues, not by having this Court begin the process anew. See Assiniboine & Sioux

Tribe of Fort Peck Indian Reservation v. Norton, 211 F. Supp. 2d 157 (D.D.C. 2002) (deeming

cases related where “[i]t would waste judicial resources and be nonsensical” to have cases

proceed separately given judicial resources already expended in one case).

       Fourth, assuming G.Y.J.P.’s case is not related before Judge Nichols to J.B.B.C.,

Defendants argue there is no basis to set her case on an expedited schedule, because Plaintiff

filed her motion approximately four weeks after the case was filed. ECF No. 28 at 2. But that

ignores that, until Defendants’ change in litigation tactics, J.B.B.C. was on track to quickly

resolve the merits of the same legal claims also brought here. Plaintiffs’ counsel had every

reason to believe the cases would be related before Judge Nichols and that the resolution of the

legal issues in J.B.B.C. would apply equally to this case. During this time, the parties were also

engaged in extensive preliminary injunction practice before Judge Nichols on a fast schedule. 1

       Moreover, an expedited schedule is appropriate here because the parties were negotiating

a fast summary judgment schedule in J.B.B.C. before Defendants voluntarily ceased their

unlawful treatment of that child. Given that identical legal issues are raised in G.Y.J.P.’s case,

and that Defendants were already prepared to litigate those issues on an expedited basis,

Defendants should not require substantial additional time to prepare their briefing here. Indeed,

when asked by Judge Nichols how soon they could prepare the administrative record,

government counsel informed him that it could be done by July 10, and that they were prepared

to move quickly on summary judgment.




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  Defendants also note that they were formally served in this case on June 30. ECF No. 28 at 2.
But Defendants’ counsel were well aware of this case before they were formally served, and
were actively engaged in litigation on the identical issues in J.B.B.C. See Related Case Notice,
J.B.B.C. v. Wolf, No. 20-cv-01509-CJN (June 15, 2020), ECF No. 21.


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       Nor, finally, is there any basis to Defendants’ implication that G.Y.J.P. does not require

urgent injunctive relief. ECF No. 28 at 2. G.Y.J.P. remains in hiding because she fears that gang

members will find and harm her. G.Y.J.P. Decl., ¶¶ 49-50. Expedited summary judgment

proceedings would be the most efficient way for her to obtain meaningful relief, including a

permanent injunction permitting her return to this country. See Complaint, Prayer for Relief. If

an expedited summary judgment schedule is not granted, Plaintiff anticipates seeking a

preliminary injunction.



Dated: July 19, 2020                             Respectfully submitted,


                                                    /s/Celso J. Perez_____________________
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